                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION


 DAVID DUVALL,                                    )
                                                  )
 Plaintiff,                                       )
                                                  )
 v.                                               )
                                                  )
                                                            C.A. No. 3:19-cv-00624-DSC
 NOVANT HEALTH, INC.,                             )
                                                  )
 Defendant.                                       )
                                                  )
                                                  )


                                DEFENDANT’S TRIAL BRIEF

        COMES NOW Defendant Novant Health, Inc. (“NH”), by and through its counsel,

pursuant to Section IV(F) of the Pretrial Order and Case Management Plan, and respectfully

submits this Trial Brief.

                                   I.     INTRODUCTION

        In this lawsuit, Plaintiff David Duvall asserts two claims relating to his termination from

NH. First, Plaintiff claims that his sex (male) and race (Caucasian) were motivating factors in the

decision to terminate his employment, alleged violations of Title VII of the Civil Rights Act of

1964 (“Title VII”) and the public policy set forth in North Carolina’s Equal Employment

Practices Act (“NCEEPA”). This is true although Plaintiff previously testified: (1) that he never

felt discriminated against during his employment at NH, and (2) that no person at NH

discriminated against him in his termination. It is also true that Plaintiff presents no other

evidence to show that he was the victim of intentional discrimination – other than through his

own ironically discriminatory theory that if white males are replaced by anyone other than other

white males, it must be discrimination. (Dkt. 38-1, 168:2-7, 172:11-15).
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         Second, Plaintiff contends that NH terminated his employment to avoid paying him

additional severance benefits that he insists would have been due had he remained employed an

additional five days. Plaintiff and NH stipulated in the Proposed Pretrial Order that this claim is

governed and preempted by the Employee Retirement Income Security Act (“ERISA”). There

are several problems with this claim.

         Plaintiff is claiming that NH terminated his employment to avoid paying additional

severance benefits beyond the twelve months salary continuation NH offered Plaintiff at

termination. (Dkt. 38-1, 127:9-21). The immediate issue with Plaintiff’s claim is that he is

alleging NH acted to deprive him of additional severance benefits under a 2013 severance policy

that was not in effect at the time of his termination in 2018 and that he did not qualify for. At

summary judgment, Plaintiff was unable to identify any record evidence suggesting that he was

terminated to avoid paying additional severance benefits under a long-outdated version of NH’s

severance policy for which Plaintiff did not qualify, and he likewise cannot make this showing at

trial.

         Given the foregoing, as well as the evidence discussed herein, Plaintiff’s lawsuit is subject

to judgment as a matter of law in NH’s favor.

                               II.    STIPULATED FACTS FOR TRIAL

         Found at Section III of the Parties’ Proposed Pretrial Order filed simultaneously herewith.

                        III.         STATEMENT OF ADDITIONAL MATERIAL FACTS

         In addition to the foregoing stipulated facts, the evidence at trial will show the following:

                a. Plaintiff’s Early and Significant Delegation to Subordinates

         Plaintiff’s department was comprised of internal communications, public relations (“PR”),

and marketing. (Dkt. 38-1, 70:7-16). From 2015 on, Plaintiff’s direct reports, Tammy Jones and

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Kati Everett, handled the lion’s share of Plaintiff’s department – with Ms. Jones leading

marketing and Ms. Everett independently running internal communications and PR and

supporting Plaintiff’s superiors (NH’s “Executive Team”). (Dkt. 38-5, 22:10-23:16; Dkt. 38-6 ¶¶

2, 7; Dkt. 38-1, 88:8-89:22, 86:20-87:10).

               b. The 2016 Board Presentation

       In 2016, Plaintiff was slated to present to NH’s parent and community Boards of Directors,

an event attended by over 100 executives and senior leaders. (Dkt. 38-2, 93:11-22; Dkt. 38-3 ¶ 4;

Dkt. 38-8, 77:1-14). After taking the stage, Plaintiff was completely unable to present, ultimately

walking off the stage without presenting at all. (Id.) As Carl Armato (NH’s President and CEO)

recalls it, Plaintiff walked away on the second slide, stating he “couldn’t do it anymore.” (Dkt. 38-

8, 77:1-14). According to Mr. Cureton, the incident “resonated with a number of leaders, you

know, throughout the organization ...” (Dkt. 38-2, 93:19-22). Mr. Armato likewise explained: “it

was such an unfortunate event for him to really just walk away from the podium in front of so

many important people.” (Dkt. 38-8, 78:1-3). As a result, Mr. Armato discussed with Mr.

Cureton whether someone unable to engage in public speaking had the command to be effective

in an SVP role, particularly one devoted to marketing and communications. (Id. at 77:1-14).

               c. Mr. Cureton Observes Continued Delegation by Plaintiff and a Loss of
                  Confidence in Plaintiff by the Executive Team

       Following the 2016 Board presentation, Mr. Cureton observed that Plaintiff was reluctant

to agree to impportant internal speaking opportunities, including before the Board of Directors.

(Dkt. 38-2, 97:4-6; Dkt. 38-3 ¶ 5). Despite feedback from Mr. Cureton about the significance of

key internal speaking engagements, Plaintiff delegated critical invitations, including opportunities

to speak before the Board of Directors, to his subordinates. (Dkt. 38-2, 90:19-91:19; Dkt. 38-6 ¶

9; Dkt. 38-9 ¶ 5). This fact is confirmed by both Ms. Jones and Ms. Everett. (Id.) As Mr.

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Cureton explained, no other speaking opportunity is more important for a NH leader than those

before the Board or Executive Team. (Dkt. 38-2, 97:3-9).

       In addition, Mr. Cureton observed that Plaintiff was reluctant to roll up his sleeves and

engage his peers around the organization and above on critical efforts. (Dkt. 38-3 ¶ 8). Both

Plaintiff and Mr. Cureton agree that they had on-going conversations regarding Plaintiff’s effort

and performance. (Dkt. 38-1, 97:11-98:7; Dkt. 38-2, 88:9-15). Mr. Cureton, among other things,

testified that he specifically provided feedback to Plaintiff about his proximity to other leaders

and the need to engage them. (Dkt. 38-2, 94:11-19, 89:12-15, 92:2-19).           As Mr. Cureton

explained, “the reason that was important was because our leaders were losing confidence in

David.” (Id. at 92:9-93:13). This was an effort “more around helping David mitigate some of the

lost confidence that I was beginning to hear from leaders and David.” (Id. at 93:5-8).

       Consistent with Mr. Cureton’s perception, another NH EVP testified that there was a

perception among other leaders that “you didn’t know where David was.” (Dkt. 38-10, 95:6-12,

105:12-14). She further explained that there was “a general feeling that we didn’t see David very

much and ... he tended to want to meet with you on the phone ...” (Id. at 95:18-21). Similarly, a

former NH EVP testified that while the feedback on Plaintiff was mixed, some “said hey, well,

you know, we don’t see David as much.” (Dkt. 38-11, 35:11 to 36:4). Underscoring this

testimony, Plaintiff’s badge swipes from 2016 through his termination reveal that he averaged

less than three recorded days per week in the office. (Dkt. 38-12 ¶ 3).

               d. Plaintiff, an SVP, is Expected to Be Exceptional, Not Just Good

       At the highly-compensated SVP level, NH expects its leaders to be exceptional, not just

good enough. (Dkt. 38-3 ¶ 6). Mr. Cureton offered the following analogy: NH is looking for

senior leaders who are not just playing in the NFL but can get the organization to the Super Bowl.

(Dkt. 38-2, 84:8-23). At this level, Mr. Cureton looks for a leader who is so robust that he or she
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could be his successor. (Id. at 83:17 to 84:7). Over time, and as part of his on-going talent

development and strategic and succession planning, Mr. Cureton determined that Plaintiff simply

did not have this potential. (Id.) This conclusion is reflected in Plaintiff’s last talent assessment

score where he was rated as high performing, but low potential. (Dkt. 38-3 ¶ 7).

               e. Plaintiff’s Termination from Employment

       In 2018, NH increased its focus on improving patient experience. (Dkt. 38-2, 89:9-90:17;

Dkt. 38-3 ¶ 8). According to Mr. Cureton, the renewed focus on patient experience was an “all

hands on deck” initiative. (Id.) Mr. Cureton expected Plaintiff – as opposed to his subordinates –

to roll up his sleeves and engage peers and above on how improvement in this area could be

made. (Id.)

       Plaintiff’s annual evaluations, called “Leader Performance Check Ins,” are sparsely

populated, both for good and negative feedback. Mr. Cureton testified that the annual leader

evaluations were less of an avenue to provide feedback than the ongoing conversations he had

with senior leaders like Plaintiff. (Dkt. 38-2, 88:12-15). However, in March 2018, Mr. Cureton

provided written evaluation feedback to Plaintiff under “Opportunities for Growth and

Improvement,” reminding Plaintiff to “[c]ontinue to provide strategic leadership and stay

engaged.” (Dkt. 38-13). At the time, Mr. Cureton did not believe that Plaintiff was providing the

engagement level and thought leadership that he expected surrounding patient experience. (Dkt.

38-2, 101:1-103:4). Unfortunately, Mr. Cureton did not observe any increase in Plaintiff’s

engagement after this check in. (Id.)

       In June 2018, Mr. Cureton again spoke to Plaintiff regarding his need to engage and

partner with other leaders surrounding patient experience. (Dkt. 38-2, 89:12-90:5; Dkt. 38-3 ¶¶ 8-

9). Despite this feedback, the proverbial last straw occurred when Mr. Cureton learned that

Plaintiff instructed Ms. Everett to attend a Patient Experience Steering Committee meeting with
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Executive Team leaders in his place, essentially delegating his department’s efforts around

patient experience to Ms. Everett. (Dkt. 38-3 ¶ 9). This demonstrated to Mr. Cureton that

Plaintiff “did not get it,” nor was he the type of transformational leader that was going to help the

organization in its critical effort aimed at improving patient experience. (Id.) Plaintiff admits he

missed this meeting, explaining that he was at a family reunion in Texas. (Dkt. 52, Pg. 8).

       Following Plaintiff’s lack of engagement on a critical aspect of NH’s business, delegation

of this and other significant executive-level responsibilities to his subordinates, and Mr. Cureton’s

assessment that Plaintiff was not the type of enterprise leader that could succeed him, Mr.

Cureton decided to terminate Plaintiff’s employment. (Dkt. 38-2, 82:1-85:6, 88:3-8, 93:2-94:3,

117:14-22). This decision was informed by Mr. Cureton’s desire to go from “good to great” – the

expectation for SVPs – and to upgrade talent in the role to someone with a different skill set and

professional background who could accelerate patient experience. (Dkt. 38-2, 80:12-81:24,

93:23-94:3).   There is no record evidence that anyone other than Mr. Cureton made the

termination decision.1

       Plaintiff’s employment was terminated effective July 30, 2018.          (Dkt. 38-1, 125:10-

126:4). At the time of Plaintiff’s termination, Ms. Everett was promoted to SVP of

Communications, a move that Mr. Cureton was contemplating independent of Plaintiff’s

separation in recognition of the work Ms. Everett performed independently for years, albeit

without the formal title. (Dkt. 38-2, 85:13-25). Ms. Jones served as an interim marketing SVP


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 Plaintiff has claimed that a jury could conclude Mr. Armato made the termination decision, and
not Mr. Cureton, because Mr. Cureton told a recruiter that Mr. Armato had a concern about
Plaintiff’s command and was potentially aware of his termination before it happened. (Dkt. 52,
Pg. 16). Neither of these facts allow a jury to conclude that Mr. Armato was the decision maker,
especially in light of testimony to the contrary from both Mr. Cureton and Mr. Armato.
Moreover, Plaintiff omits the fact that Mr. Cureton shared Mr. Armato’s command concern with
the recruiter, when directly asked what Mr. Armato would say about Plaintiff. (Dkt. 44-16,
19:16-20:8).
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while NH conducted a national talent search. (Id. at 73:1-5, 77:21-78:7). Ms. Jones and Ms.

Everett report that following Plaintiff’s departure, the primary change was to their titles and

reporting relationships (as they were already performing Plaintiff’s substantive functions). (Dkt.

38-7, 40:21-41:1, Dkt. 38-6 ¶ 11). Ten months after Plaintiff’s termination, NH hired Vicky Free

as its SVP and Chief Marketing Officer. (Dkt. 38-1, 203:23-204:9, Dkt. 38-2, 78:14-22).

       At the time of her hire, Ms. Free had been a Senior Vice President or higher for

approximately 13 years, with strong consumer-based experience at Disney, BET and Turner

Networks. (Dkt. 38-3 ¶ 11). In contrast to Ms. Free, prior to coming to NH, Plaintiff spent the

previous decade operating his own business venture that ultimately “dissolved” following a

failure to recover from the 2008 recession. (Dkt. 38-1, 25:24-26:2, 46:24-47:12).

               f. Plaintiff’s Severance Offer

       At the time of Plaintiff’s hire in 2013, NH had an Executive and Leader Severance Pay

policy (the “2013 Policy”). (Dkt. 37 ¶ 3). Plaintiff testified that he never saw a copy of the 2013

Policy during his employment. (Dkt. 38-1, 79:16-25, 67:16-23). Under the 2013 Policy, Tier II

leaders (like Plaintiff), who met all other eligibility requirements, would receive additional

severance if they had five years of service or more.2 (Dkt. 37 ¶ 3). By its explicit terms, the 2013

Policy could be amended, modified, or terminated at any time, for any reason. (Id.)

       In 2015, NH amended the severance policy (the “2015 Policy”). (Id. at ¶ 4). Under the

2015 Policy, Tier II leaders were eligible for a single amount of severance pay regardless of their

length of service. (Id.)




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 Plaintiff admits that he did not reach five years of service at the time of his termination in 2018.
(Dkt. 38-1, 128:18-24).

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          At the time of his termination, NH offered Plaintiff severance benefits consistent with the

existing 2015 Policy.3 Plaintiff refused the offer, claiming that he was entitled to even more

severance benefits under the sunset 2013 Policy. (Id.) But, because Plaintiff did not have five

years of service, he was not entitled to greater severance benefits under even the inapplicable

2013 Policy. (Dkt. 38-1, 128:18-24). Further, in rejecting the offer, Plaintiff refused to sign a

separation agreement as required and, consequently, has no entitlement to severance under the

terms of either policy. (Dkt. 37).

                  g. Plaintiff’s Subsequent Job Search and Higher Paying Employment

          Following Plaintiff’s termination in July 2018, Plaintiff admitted that he did not

subsequently even apply for employment. (Dkt. 40 at Pg. 8). Instead, he relied solely on talent

recruiters to find him because, in Plaintiff’s view, one does not “typically” apply for jobs at his

“level.” (Id.) Despite this remarkably passive approach, Plaintiff was contacted by recruiting

firms from September of 2018 through the first quarter of 2019. (Dkt. 38-1, Pg. 54). At the time,

Plaintiff would not consider a job with a base salary under $300,000.4 (Dkt. 40, Pg. 9).

          Plaintiff admits that between January and April of 2019, he voluntarily withdrew from

multiple executive marketing positions:

                 In January 2019, Plaintiff interviewed with a recruiter for the Chief Marketing and
                  Communications Officer role at M Health Fairview at the University of
                  Minnesota. (Dkt. 38-13, Pg. 20). Thereafter, Plaintiff spoke with an unidentified
                  industry contact, who opined that a new leader could come in given the “tenuous
                  political relationship” there. (See Exhibit A). As a result, Plaintiff decided not to
                  pursue the job opportunity, testifying: “I just chose to not continue to pursue it.”
                  (Id.)

                 During the first quarter of 2019, Plaintiff interviewed several times for the Chief
                  Communications and Marketing Officer role at the University of Michigan

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    This resulted in an offer to Plaintiff of nearly $500,000. (Dkt. 38-1, 124:1-16, 127:9-25).
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 Notably, Plaintiff was hired at NH with a starting base salary of $288,000, the highest annual
salary he had earned in his life up to that point. (Dkt. 38-1, Pg. 13).
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                 (Michigan Medicine). (Dkt. 38-1, Pg. 54). Plaintiff withdrew, allegedly at the
                 recruiter’s recommendation, because the base salary was below $300,000. (See
                 Exhibit A). Plaintiff also testified that, despite the title, the role did not encompass
                 marketing and was thus half the scope of his NH role (an interesting claim
                 considering he admittedly ceded all of communications/PR activities to his
                 subordinate at NH). (Id.)

                In April 2019, Plaintiff interviewed for a Chief Marketing Officer role at the
                 University of Miami Health System. (Dkt. 38-13, Pg. 20). Though the position
                 offered a base salary in the “[l]ow 4s” (meaning $400,000), Plaintiff withdrew
                 because he thought the geography of south Florida was “unappealing,” “the
                 market was predominately Hispanic and Plaintiff doesn’t speak Spanish,” and
                 $400,000 was low in Plaintiff’s estimate based on the cost of living. 5 (Exhibit A;
                 Dkt. 38-13, Pg. 20).

          Plaintiff ultimately secured employment at HFHS, beginning June 10, 2019 as its SVP of

Public Relations, Marketing, Communications & Chief Experience Officer. (Dkt. 38-1, Pg. 56-7,

59). Plaintiff admits that this was not an equivalent position to NH, it was better. Plaintiff was

paid more than he was at NH and considered the job a “promotion” because: (1) he reported

directly to the CEO, and (2) had expanded responsibilities for a larger healthcare system. (Dkt.

38-1, Pg. 59-60). Though Plaintiff was terminated from this position on January 6, 2020, he

received, among other compensation, base salary through December 2020. (See Exhibit A).

          Following Plaintiff’s termination from HFHS, he resumed waiting for recruiters to locate

and present opportunities, which Plaintiff considers “actively looking.” (Dkt. 38-1, Pg. 61). Yet

again, through this process, Plaintiff was presented and withdrew from consideration for a VP of

Marketing and Communications role with Cape Fear Valley Health System in 2020. (See Exhibit

B). He did so without even learning the compensation offered because it was only “a billion

dollar system” with a smaller scope of responsibility than he had at NH. (Id.)

                 h. Plaintiff’s Claims Against NH, Testimony, and Theory of
                    Discrimination



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    This offer appears to have exceeded Plaintiff’s final base salary with NH, which was $402,676.
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       Plaintiff testified that he did not think he was being discriminated against during his

employment:

               Q.      So while you were employed at Novant, did you ever think that you
                       were being discriminated against in your own mind?

               A.      No.

(Dkt. 38-1, 141:13-16). Indeed, it was not until after his termination, and after NH refused

Plaintiff’s demand for additional severance, that Plaintiff first claimed discrimination – at that time

claiming age discrimination. (Pl. Dep. 136:19-21). This lawsuit abandons Plaintiff’s initial claim

of age discrimination and instead claims race and sex discrimination. This is true even despite

Plaintiff admitting that no one at NH discriminated against him with respect to his termination:

               Q.      Do you believe any individual discriminated against you in your
                       termination from NH?

               A.      No. Not individually.

(Dkt. 38-1, 176:6-8). Despite his repeated admissions of the lack of individual discrimination at

NH, Plaintiff takes the rather inconceivable position that any termination of a white man followed

by the hiring of anyone other than a white man must be discriminatory on its face:

               Q.      ...So what you’re saying is regardless of the qualifications of the
                       people, whether they are black or female, you believe [if] they got jobs
                       previously held by white men, that it must be evidence of
                       discrimination; isn’t that right?

               A.      Yes.

               ...

               Q.      However, if there’s a pattern of people of different races or genders
                       entering the workforce and taking jobs previously held by white
                       males, that is a pattern of discrimination in your mind; correct?

               A.      Yes.

(Id. at 168:2-7, 172:11-15).
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                                  III.   LEGAL ARGUMENT

              a. Judgment as a Matter of Law is Warranted on Plaintiff’s Severance Claims

                 i. Plaintiff Cannot Present Evidence at Trial of “Specific Intent” Under ERISA
                    as Required

        Plaintiff claims a violation of 29 U.S.C. § 1140 (“Section 510”) of ERISA, which

prohibits “discharge …. for the purpose of interfering with the attainment of any right to which

such participant may become entitled under the plan …” The McDonnell Douglas burden-

shifting framework applies to claims for discriminatory discharge brought under § 510 of

ERISA. Conkwright v. Westinghouse Elec. Corp., 933 F.2d 231, 239 (4th Cir. 1991). Therefore,

Plaintiff must first establish a prima facie case, including a showing that he was discharged

“‘under circumstances that give rise to an inference of discrimination.’” Blair, 235 F. Supp. 2d at

473 (quotation omitted); (Dkt. 52, Pg. 22). In addition, Plaintiff must meet his ultimate burden

to prove that he was discharged for the purpose of interfering with plan benefits. Under ERISA

§ 510, this requires a showing of “specific intent” to interfere with attainment of plan benefits.

Id. at 239.

        Plaintiff cannot present circumstances raising an inference of discrimination sufficient to

establish a prima facie case, let alone meet his burden to prove that NH terminated his

employment with the specific intent to interfere with his attainment of severance benefits.

Plaintiff’s summary judgment briefing makes this abundantly clear.

        There is not a shred of evidence in this case that NH fired Plaintiff to avoid paying

additional severance under the sunset 2013 policy. At the time of Plaintiff’s termination in 2018,

it had been out-of-date and inapplicable for nearly three years, having been amended and

replaced by the 2015 policy under which Plaintiff was offered severance benefits. (Dkt. 37).

While Plaintiff will likely argue that he was unaware the policy changed, Plaintiff’s awareness is

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irrelevant for ERISA 510 purposes, which focuses on employer intent (and not the Claimant’s

knowledge). Indeed, if Plaintiff’s awareness of the policy controlled (and it does not), Plaintiff

testified that he never saw either the 2013 or 2015 Policies during his employment.

        As to employer intent, Mr. Cureton testified that at the time he made the decision to

terminate Plaintiff, he was not aware of the amount or terms of any severance benefits Plaintiff

may have been entitled to. Dkt. 38-3 ¶ 3. Instead, NH presented ample evidence of the actual

legitimate, non-discriminatory cause of Plaintiff’s termination.       See supra.     At summary

judgment, Plaintiff was unable to point to any evidence in the record linking his termination to a

motivation to avoid severance payments under an outdated policy, let alone specific intent. The

same will be true at trial.

        To date, Plaintiff has only been able to offer two arguments in support of this claim. Both

are wholly deficient. First, likely to avoid Mr. Cureton’s foregoing testimony, Plaintiff argues

that “a jury could find that Armato was the decision maker.” (Dkt. 52, Pg. 16). No reasonable

jury could conclude that. See supra, FN 1. It also would not change the result. There is no

record evidence that Mr. Armato (or any other person at NH) acted to deprive Plaintiff of

severance benefits under an outdated plan. Tellingly, the only evidence Plaintiff offers on this

point is the fact that “Armato’s career at Novant has turned his attention to finance, including

changing the pension plan to save money.” (Dkt. 52, Pg. 16).

        Second, Plaintiff claims that the reasons NH offered for his termination were false. (Dkt.

52, Pg. 22). This argument is largely premised on a job reference conversation Mr. Cureton had

with a recruiter at Plaintiff’s request and for his benefit. As discussed at length in NH’s summary

judgment opposition brief, the information Mr. Cureton gave is consistent with the stated reasons

for Plaintiff’s termination and does not show falsity. (Dkt. 51, Pg. 3-7). In any event, even if it

did, Plaintiff still has not shown that the true reason for his termination was to avoid paying
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benefits under an outdated policy. Where, as here, there is a complete lack of evidence on a

claim for which Plaintiff bears the burden at trial, judgment as a matter of law under ERISA is

required. (See Dkt. 40, Pg. 22).

           b. Judgment as a Matter of Law is Warranted on Plaintiff’s “Reverse
              Discrimination” Claim

       Like the ERISA claim, no reasonable jury to find in favor of Plaintiff on his claim of

wrongful discharge in violation of Title VII or the policy contained in NCEEPA, each of which is

evaluated under the same framework. Jones v. Lowe’s Companies, Inc., 402 F. Supp. 3d 266,

284 (W.D.N.C. 2019).

       Plaintiff is proceeding under a “mixed motive” proof scheme, a framework utilized in

cases where an employee alleges that an employer had both legitimate and illegitimate reasons

for making a job decision. 42 U.S.C. § 2000e–2(m); Desert Palace Inc. v. Costa, 539 U.S. 90,

93, 101 (2003). Under this framework, Plaintiff must first prove by a preponderance of the

evidence that his sex and race were motivating factors in the decision to terminate his

employment. 42 U.S.C. § 2000e–2(m); Desert Palace, 539 U.S. at 94, 99. If Plaintiff meets this

burden, Novant Health may then present an affirmative defense by demonstrating that it would

have taken the same action absent the impermissible motivating factor. Id. at 94-95. If Novant

Health makes this showing, Plaintiff is entitled only to declaratory relief, certain types of

injunctive relief, and attorneys’ fees. Id. at 94. Notably, even when a litigant proceeds under a

mixed motive theory, “‘[t]he ultimate question in every employment discrimination case

involving a claim of disparate treatment is whether the plaintiff was the victim of intentional

discrimination.’” Hill v. Lockheed Martin Logistics Mgmt., Inc., 354 F.3d 277, 286 (4th Cir.

2004), overruled on other grounds, University of Tex. Sw. Med. Ctr. v. Nassar, 570 U.S. 338

(2013) (citing Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 153 (2000).

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                    i. Plaintiff Cannot Demonstrate by a Preponderance of Evidence
                       that Sex or Race Were Motivating Factors for his Termination

       There is no triable issue on Plaintiff’s initial showing, i.e., that he was the victim of

intentional discrimination motivated by his sex or his race. Plaintiff failed to meet this burden at

summary judgment and necessarily cannot present sufficient evidence of it at trial.

       Plaintiff admitted during his deposition that he was not the victim of individualized

discrimination:

               Q.      Do you believe any individual discriminated against you in your
                       termination from NH?

               A.      No. Not individually.

(Dkt. 38-1, 176:6-8). This admission is fatal. See Danial v. Morgan State Univ., 426 F. Supp. 3d

135, 147 (D. Md. 2019), reconsideration denied, No. CV CCB-17-959, 2020 WL 4016174 (D.

Md. July 16, 2020) (finding plaintiff plainly could not proceed with race discrimination claim

where he admitted in his deposition that he did not believe he was discriminated against).

       Admittedly not the victim of any individualized discrimination, Plaintiff attempts to

support his claim in two ways: (1) through the terminations of six other white male employees;

and (2) through an attack on NH’s diversity, inclusion, and health equity efforts. Both avenues

are similar in that: (1) they are premised on complete speculation wholly lacking in evidence; (2)

they do not show any connection to race or sex discrimination; and (3) they are in no way related

to Plaintiff’s own termination – the central issue in this case.

       NH discussed Plaintiff’s hand-selected “other employee evidence” at length in its Motions

in Limine. In short: (1) none were terminated by the same decision maker as Plaintiff; (2) none

were terminated under the same or similar circumstances as Plaintiff; and (3) none were

otherwise similarly situated to Plaintiff. (Dkt. 35). Interestingly, some were not even replaced by

a female or non-white candidate, begging the question as to why Plaintiff selected them at all. In
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addition, this evidence has zero link to race or sex discrimination. It is completely inadmissible

at trial and necessarily cannot support Plaintiff’s case.

       Admissibility aside, Plaintiff’s “other employee” evidence fails for a much simpler

reason. When one views the aggregate numbers – and not just the selective anecdotes Plaintiff

offers – there is no pattern of displacing white male SVPs like Plaintiff. (Dkt. 36, Exhibit B).

The percentage of white men at the SVP level in 2015 is virtually identical to the percentage of

white men at the SVP level at the end of 2019, following what Plaintiff characterizes as a push to

remove white men from leadership roles. (Id.)

       Aside from his debunked and inadmissible “other employee” evidence, Plaintiff attempts

to build a conspiracy theory through a selective and highly narrated recounting of NH’s diversity,

inclusion, and health equity efforts. NH discussed its diversity, inclusion, and health equity

efforts extensively in response to Plaintiff’s Partial Motion for Summary Judgment. (See Dkt. 51,

Pg. 14-19). As Mr. Armato explained, NH’s diversity and inclusion efforts are primarily aimed at

achieving health equity, i.e., “to obtain the highest level of health for all people.” (Dkt. 51-6,

117:4-6; Dkt. 51-5, 58:4-6). In other words, NH aspires to reflect the communities it serves in

order to deliver a remarkable patient experience every time, to everyone. (Dkt. 51-6, 110:2-7,

14-25-111:2).

       Despite expansive discovery, Plaintiff has never marshalled any evidence that NH’s

diversity, inclusion, or health equity efforts had any connection to his termination, absent sheer

conjecture. Montgomery, 2018 WL 1385409, at *3 (dismissal is appropriate “[w]here the only

‘evidence’ [plaintiff] has proffered is her own … speculative belief that []he was discriminated

against”). He also never identified evidence showing that these efforts were discriminatory in any

respect other than through conclusory statements by counsel.

       To the contrary, Plaintiff admitted that diversity at NH meant:
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               A variety of people of different backgrounds but more
               importantly of different thoughts and perspectives and values.
               So we had this concept of what’s above the ground that you can
               see and what’s below the ground that you can’t see. And that was
               a principal teaching. Educational backgrounds, socio-economic
               backgrounds, religious backgrounds, social determina[nts]of
               health, all those were things that we were trying to become
               more aware of beyond race and gender.

(Dkt. 23-1, 106:2-14) (emphasis added).        With respect to the NH’s workforce, the record

testimony underscored that NH is always going to hire the best candidate for the job:

               What we’re doing is really looking at the best talent and making
               sure our talent -- we have the talent for our organization to be
               successful, and that’s -- and success for us is meeting the needs of
               our patients, engaging our team members, and creating an
               environment where all of our team members and patients can
               thrive and where Novant Health not only survives as an
               organization in health care but thrives.

 (Dkt. 51-5, 127:5-12). To do so, NH ensures that its recruitment efforts are broad so that it is

able to consider the most competitive and diverse talent pool available. (Id. at 60:8-15, 123:14-

18, 57:11-18). As Ms. Blackmon explained, it is “about spreading our net far and wide so that

we can -- we can acquire all the talent that’s out there. In our business of health care or any other

business, you can’t afford to leave any talent on the table if you’re wanting to have a thriving

organization.” (Id. at 123:14-18). She went on to explain:

               We start looking at how do we spread our net far and wide so that
               we can source the best talent that’s out there. As I was mentioning
               with my college football team, they had to really expand their
               reach if they wanted to be competitive in football. It’s the same
               with Novant Health. If we want to meet the needs of our patients,
               if we want to continue to grow Novant Health and be successful,
               we have to expand our reach.

(Id. at 57:11-18). By spreading its net far and wide and selecting the best talent, NH is able to

move closer to reflecting the communities it serves. (Id. at 60:5-15). NH’s wide net is inclusive

of all candidates, including white men. (Dkt. 51-6, 110:2-7).

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       There is nothing sinister about the foregoing (or even relevant to this case), as the

foregoing shows.    Realizing as much, Plaintiff leans heavily on what he calls a “targets.”

However, the only existing numeric goal with respect to workforce representation is NH’s long-

term goal for the three-year cycle of 2019 to 2021 to close the gap in certain demographic aspects

of its workforce versus the communities NH serves. The 2019 to 2021 goal was effective after

Plaintiff’s termination and has nothing to do with replacing white men in senior leadership

positions. 6 (Dkt. 36 ¶ 4). During Plaintiff’s employment, there were no numeric targets or

related compensation goals concerning workforce demographics or the diversity of NH’s

employees. Likewise, Mr. Cureton testified that he was not aware of numeric diversity targets

and was (and is) not operating within them. (Dkt. 51-2, 123:12 to 124:2, 125:11-14, 128:7-18).

       As a result, unable to make any showing necessary to proceed to trial, NH seeks judgment

as a matter of law under Title VII and corollary state law.

                          ii. NH Can Make Out its Affirmative Defense

       Even assuming Plaintiff could prove by a preponderance of the evidence that his

termination was motivated by sex or race (which he cannot), NH can show that it would have

terminated Plaintiff’s employment regardless of those considerations.

       The record evidence is clear that the expectation for an SVP reporting to Mr. Cureton is

that they are exceptional, not just adequate or even good. As Mr. Cureton explained, he is looking

for someone so robust that they could ultimately succeed him. Mr. Cureton concluded that

Plaintiff was not the type of exceptional leader that could be his successor. For example, Mr.

Cureton observed that Plaintiff was reluctant to engage his peers across the organization and the

Executive Team on critical efforts, including patient experience. In the month before Plaintiff’s

6
 This is particularly true for Plaintiff who was ultimately replaced by an African American
female, as this long-term incentive does not concern workforce demographics for female or
African-American employees.
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termination, Mr. Cureton discovered that Plaintiff seemingly delegated his department’s efforts

around patient experience – a top priority – to his subordinate instead of providing the direct

engagement level Mr. Cureton expected. Prior to this time, Plaintiff also delegated critical

internal speaking opportunities to subordinates, following a widely viewed incident where he was

completely unable to present to NH’s Boards of Directors.

       In fact, as the record evidence demonstrates, Plaintiff delegated large swaths of his

responsibilities to his subordinates with little to no oversight on his part. This fact is further

underscored by the record evidence that: (1) very little changed for Ms. Everett or Ms. Jones

following Plaintiff’s termination and (2) the unassailable fact that there was no need to replace

Plaintiff for some ten months following his termination.

       Meanwhile, the record evidence establishes without question that the Executive Team –

Plaintiff’s superiors – had very little confidence in Plaintiff as a leader. From wondering where

he was, to Ms. Everett handling all duties relating to the Executive Team, to Plaintiff’s inability

to present to NH leadership, the loss of confidence in Plaintiff by the senior leaders within the

organization is clear.

       Against this backdrop, NH can clearly show a legitimate explanation for Plaintiff’s

termination that would have (and was) decided upon without consideration of his sex or race.

Mr. Cureton made the decision to terminate Plaintiff’s employment based on an aggregation of

considerations, including Plaintiff’s delegation of significant responsibilities to his subordinates,

the conclusion that he was not exceptional or a successor to Mr. Cureton, and the opportunity to

elevate talent in the role to more closely align with the organization’s increased focus on patient

experience (a top priority Plaintiff largely delegated to his subordinate). This fully satisfies NH’s

affirmative defense showing. Therefore, at best, Plaintiff recovery in this case is substantially

limited.
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                                         IV. CONCLUSION

        Failing to meet his burden on each and every claim presented, Plaintiff’s claims fail as a

matter of law. For the reasons stated above and such other evidence and argument that will be

presented at trial, NH will seek directed verdict at trial.

        Dated this the 14th day of April, 2021.

                                                Respectfully submitted,

                                                /s/Benjamin R. Holland
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                                 CERTIFICATE OF SERVICE
       I, Elizabeth R. Gift, hereby certify that I have this day electronically filed the foregoing

DEFENDANT’S TRIAL BRIEF with the Clerk of Court using the CM/ECF system, which will

send notification of the filing to the following person:

       S. Luke Largess
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       Dated this the 14th day of April, 2021.

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